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                                     UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF FLORIDA
                                            TAMPA DIVISION




    RUEBEN AMES,

            Petitioner

    v.                                                            CASE NO. 8:04-CV-2775-T-30MAP
                                                                           8:01-CR-445-T-30MAP
    UNITED STATES OF AMERICA,

         Respondent.
    ______________________________/

                                                        ORDER

            Petitioner has filed a Motion and Memorandum In Support of a Certificate of

    Appealability (“COA”) pursuant to Rule 22, Fed. R. App. P.,1 and 28 U.S.C. §22532 (CV Dkt.

    11), which the Court construes as a Notice of Appeal of this Court's July 7, 2006 decision

    denying his motion for relief under 28 U.S.C. § 2255 (CV Dkt. 10). Petitioner has not paid

    the $455.00 appellate filing fee and costs or filed an affidavit of indigency seeking leave to

    proceed on appeal in forma pauperis.




             1
              "Certificate of Appealability. (1) In a . . . 28 U.S.C. §§ 2255 proceeding, the applicant cannot take
    an appeal unless a circuit justice or a circuit or district judge issues a certificate of appealability under 28
    U.S.C. §§ 2253(c). If an applicant files a notice of appeal, the district judge who rendered the judgment must
    either issue a certificate of appealability or state why a certificate should not issue. . . . If no express request
    for a certificate is filed, the notice of appeal constitutes a request addressed to the judges of the court of
    appeals." Rule 22, Fed. R. App. P.
             2
             "[I]n . . . a proceeding under section 2255 . . , the final order shall be subject to review, on appeal,
    by the court of appeals for the circuit in which the proceeding is held. . . . (c)(1) Unless a circuit justice or judge
    issues a certificate of appealability, an appeal may not be taken to the court of appeals from -- . . .(B) the final
    order in a proceeding under section 2255. . . . (2) A certificate of appealability may issue . . . only if the
    applicant has made a substantial showing of the denial of a constitutional right." 28 U.S.C. § 2253(c).
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           While issuance of a COA does not require a showing that the appeal will succeed,

    see Miller-El v. Cockrell, 537 U.S. 322, 336-37 (2003), under the controlling standard, a

    petitioner must demonstrate that reasonable jurists would find the Court's assessment of

    the Petitioner’s constitutional claims debatable or wrong. See Slack v. McDaniel, 529 U.S.

    473, 484 (2000); Eagle v. Linahan, 279 F.3d 926, 935 (11th Cir. 2001). Petitioner has failed

    to make this threshold showing. See Slack, 529 U.S. at 485.

           ACCORDINGLY, the Court ORDERS that Petitioner's request for issuance of a

    certificate of appealability (CV Dkt. 11) is DENIED.

           DONE and ORDERED in Tampa, Florida on September 26, 2006.




    SA/jsh
    Copy furnished to:
    All Parties/Counsel of Record




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